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September 27, 2020

 

U.S. Bankruptcy Court
for District of Delaware
Attn: Clerk of Court
824 Market Street
Wilmington, Delaware 19801

RE: Victim's Claim Packet in the B.S.A.
Abuse Bankruptcy Case #20-10343, of
B.S.A. and B.S.A. Delaware, Debtors.

Dear Clerk of Court,

I am respectfully requesting a victim's claims packet in the above refer-—
enced bankruptcy case against the B.S.A. and the B.S.A. of Delaware, Debtors.

Clerk of Court, I was a victim at the hands of the Boy Scouts of America
for almost two years, and it has devastated my life, and I want to initiate a
claim against the Boy Scouts of America and their affiliates. I am respectfully
requesting a claims form against the B.S.A. debtors.

Please mail the claims form to me at the following address:

Haas RGSS

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NOTE: Please ensure that my CDOC registration number is at the end of
my name or underneath it, as in the example. Thank You!

Clerk of Court, please place a copy of this letter in the file for case
number 20-10343, I want it to be part of the record to reserve ~~ claims and |
issues against the B.S.A. debtors. —_

Clerk of Court, thank you very much for your time and cooperation in this
matter. I very much look forward to your very prompt and. favorable response,
and any and all proper Victim's Claim Packet and documents needed, very shortly.

   
 
   

Respectfully,

Hl Reman, Ge

B.S.A. Victim Claimant

xc: file
B.S.A., 1325 West Irving Hill Lane, Irving, TX 75038
